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      8                               UNITED STATES DISTRICT COURT

      9                              SOUTHERN DISTRICT OF c1LIFORNIA

     10                                      April 2018 Grand Jury
     11    UNITED STATES OF AMERICA,                      Case No.               18 CR 3071 WQH
     12                      Plaintiff,                   I N D I C T ME N T
                                                          -   -    -   T    -


     13          v.                                       Title 18, U.S.C., Sec. 371 -
                                                          Conspiracy to Commit Securities
     14    GANNON GI GUI ERE {1) ,                        Fraud; Title 15, U.S.C.,
           OLIVER LINDSAY (2),                            Secs. 78j (b), 78ff, and Title 17,
     15                                                   C.F.R., Sec. 240.lOb-5 -
                             Defendants.                  Securities Fraud; Title 18,
     16                                                   U.S.C., Sec. 981 (a) (1) (C), and
                                                          Title 28, U.S.C., Sec. 2461(c)
     17                                                   Criminal Forfeiture

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     19         The Grand Jury charges, at all times material:

     20                                  INTRODUCTORY ALLEGATIONS

     21                          Relevant Individuals and Entities

     22         1.    Defendant      GANNON     GIGUIERE,         a    resident            of     Newport           Coast,

     23    California,   worked as       a    stock promoter           in       Southern California,                   and

     24    controlled TheMoneyStreet.com.

     25         2.    Defendant OLIVER LINDSAY,               a   resident of Georgetown,                           Cayman

     26    Islands,   operated an       offshore     brokerage             firm     known as          CMGT      Capital

     27    Management (the "Offshore Brokerage Firm") .

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 1         3.    TheMoneyStreet.com was a stock promotion website.

 2         4.    Kelvin      Medical,      Inc.     ("Kelvin      Medical")        was    a   Nevada

 3   Corporation     with    its    principal      place    of    business    in    Nevada     City,

 4   California.      Kelvin Medical purported to be an "early participant in

 5   medical device and telehealth wearables with a focus on the development

 6   of artificial intelligence driven physical therapeutic technologies."

 7         5.    Eco Science Solutions, Inc.             ("ESSI") was a Nevada corporation

 8   with its principal place of business in Makawao, Hawaii.                      ESSI purported

 9   to pursue several business models over time.                   In 2017, it purported to

10   be "a premier health,          wellness and alternative medicines business by

11   effectively servicing and connecting wisely conscious consumers with

12   like-minded businesses."

13         6.    Confidential Witness 1 ("CW-1"), was a resident of California,

14   and worked as a stock promoter.

15         7.    A pump-and-dump scheme was a fraudulent scheme that typically

16   involved the artificial          inflation of the stock price of a publicly-

17   traded company (the "pump") so that individuals who control a substantial

18   portion    of   the    company's      stock   can     sell   shares     of    that    stock   at

19   artificially high prices to other investors                   (the "dump").          Generally,

20   such schemes effected the artificial inflation in share price by, among

21   other things, issuing news releases and promotional materials regarding

22   the   company and its         stock      often containing false,              misleading,     or

23   exaggerated information - and by engaging in manipulative trading of the

24   stock to affect its price and generate the appearance of demand for the

25   shares.

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 1                                          Count 1 - Conspiracy

 2                                           (18       u.s.c.      §    371)

 3         8.     Paragraphs 1 through 7 of the Introductory Allegations above

 4   are re-alleged as if fully set forth herein.

 5                a.      Beginning on a date unknown to the Grand Jury but no

 6   later than October 2017, and continuing until on or about March 2018,

 7   within the Southern District of California and elsewhere,                                           defendants

 8   GANNON GIGUIERE,         (GIGUIERE), and OLIVER LINDSAY,                            (LINDSAY), and other

 9   individuals       and    entities       known and unknown                    to    the     Grand Jury,       did

10   knowingly and intentionally conspire to commit an offense against the

11   United States,          that    is,    securities             fraud,      namely,        to knowingly and

12   willfully,        directly      and     indirectly,               by   the    use     of      the   means    and

13   instrumentalities of interstate commerce and of the mails, use and employ

14   manipulative and deceptive devices and contrivances in connection with

15   the purchase and sale of securities by (a) employing devices, schemes

16   and artifices to defraud,                   (b)    making and causing to be made untrue
17   statements     of    material         fact,        and omitting              to    state material        facts

18   necessary     in order         to     make        the   statements            made,      in    light    of   the

19   circumstances under            which        they were             made,      not   misleading,         and   (c)

20   engaging in acts, practices, and courses of business which operated and

21   would operate as a fraud and deceit upon any persons, including members

22   of the investing public and sellers and purchasers of Kelvin Medical

23   Inc. 's    securities,         in   violation           of        Title   15,      United      States    Code,

24   Sections 78j (b),        78ff,        and    Title          17,    Code      of    Federal      Regulations,

25   Section 240.lOb-5.

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 1                                 MANNER AND MEANS

 2         9.     It was part of the conspiracy that defendants GIGUIERE and

 3   LINDSAY would obtain a material degree of control over Kelvin Medical,

 4   including by obtaining significant blocks of Kelvin Medical stock.

 5         10.    It was further part of the conspiracy that defendants GIGUIERE

 6   and LINDSAY would deposit Kelvin Medical stock in one or more accounts

 7   at domestic brokerage firms     (the "KVMD Domestic Accounts") , and in one

 8   or more accounts at CMGT (the "CMGT Accounts," and collectively with the

 9   Domestic Accounts, the "KVMD Brokerage Accounts") .

10         11.    It was further part of the conspiracy that the CMGT Accounts

11   would be held in the name of one or more nominees in order to conceal

12   the   fact   that defendants GIGUIERE and LINDSAY controlled and had a

13   beneficial interest in the shares in the CMGT Accounts.

14         12.    It was further part of the conspiracy that defendant GIGUIERE

15   would make misrepresentations to his brokerage firms in order to have

16   the ability to deposit and trade Kelvin Medical shares at and through

17   those firms.

18         13.    It was further part of the conspiracy that defendants GIGUIERE

19   and LINDSAY would conceal their affiliation with Kelvin Medical in order

20   to hide their substantial control over the company.

21         14.    It was further part of the conspiracy that defendants GIGUIERE

22   and LINDSAY would engage in manipulative trading in Kelvin Medical stock

23   in order to artificially avoid the deflation of, maintain, and inflate

24   the share price of Kelvin Medical stock.

25         15.    It was further part of the conspiracy that defendant GIGUIERE

26   would draft, and cause to be drafted, corporate disclosures for Kelvin

27   Medical.

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 1         16.   It was further part of the conspiracy that defendant GIGUIERE

 2   would promote, or cause the promotion of, Kelvin Medical and its stock

 3   on TheMoneyStreet.com in order to artificially avoid the deflation of,

 4   maintain, and inflate the share price of Kelvin Medical stock.

 5         17.   It was further part of the conspiracy that defendant LINDSAY

 6   would engage    call   room operators     to contact securities brokers and

 7   convince the brokers to purchase Kelvin Medical stock in their clients'

 8   accounts, in exchange for a fixed fee.

 9         18.   It was further part of the conspiracy that defendants GIGUIERE

10   and LINDSAY would sell Kelvin Medical stock that was held in the KVMD

11   Brokerage Accounts into the open market at inflated prices, which the

12   conspirators would manipulate by promoting Kelvin Medical and its stock

13   without disclosing their plan to sell such stock during the time that

14   the promotions were disseminated,        and during a period of manipulative

15   trading.

16         19.   It was further part of the scheme that defendants GIGUIERE and

17   LINDSAY would create false pretenses for the transfer of money from the

18   CMGT accounts to accounts controlled by defendant GIGUIERE.

19         20.   It was further part of the conspiracy that defendants GIGUIERE

20   and LINDSAY,    along with CW-1,     would communicate by phone,          email, and

21   encrypted     communications     about   the    status    and    progress    of    the

22   conspiracy.

23                                       OVERT ACTS

24         21.   In furtherance of the conspiracy and to effect and accomplish

25   the   objects   thereof,   the   following     overt   acts,    among   others,   were

26   committed within the Southern District of California and elsewhere:

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 1                a.   In or about October 2017, defendant GIGUIERE, through an

 2   entity he controlled,     bought 1,500,000 shares of Kelvin Medical stock

 3   pursuant to a stock purchase agreement.

 4                b.   On or about October 25, 2017,                in connection with Kelvin

 5   Medical stock,     defendant GIGUIERE falsely represented in a                      "Rule 144

 6   Seller's Representation Letter" that he "is not at present and has not

 7   been during the preceding three months,              an officer,           director,    or 10%

 8   shareholder of the Company or in any other way an                       'affiliate'     of the

 9   Company. "

10                c.   In or   about   November        2017,        defendant    GIGUIERE     caused

11   1,500,000 shares to be deposited in the KVMD Domestic Brokerage Account.

12                d.   Between October and December                  2017,   defendant    GIGUIERE

13   obtained an additional 1,500,000 shares of Kelvin Medical stock,                            and

14   caused those shares to be deposited in a CMGT account in the name of a

15   nominee entity controlled by Lindsay.

16                e.   On or about November 29,           2017,       defendants GIGUIERE and

17   LINDSAY engaged in a      coordinated,          open market        transaction      in Kelvin

18   Medical stock.     Defendant GIGUIERE caused one or more offer(s)                      from the

19   KVMD   Domestic Accounts    of    28, 350   shares        of    Kelvin Medical      stock at

20   approximately $.22 per share in the open market, and defendant LINDSAY

21   caused the purchase of those shares.

22                f.   On or about the following dates, defendants GIGUIERE and

23   LINDSAY,     along with CW-1 corresponded telephonically or via messaging

24   apps in order to execute their plan to manipulate Kelvin Medical's stock

25   price.

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     Case 3:18-cr-03071-WQH Document 1 Filed 06/29/18 PageID.10 Page 7 of 15



 1       Date                       Partial Content of Call/Message
                                    GI GUI ERE to CW-1:   "Because we    can
 2     November 27, 2017 Call       manage, the nice thing about it, is we
                                    can manage, the price appreciation."
 3

 4                                 GI GUI ERE to CW-1: "And look [UI] we ve    1



                                   got 2.9 million shares, um, that, you
 5                                 know we'll be able to, you know, sell,
                                   as we allow this thing to-to go from a
 6                                 dollar to, let's say, to two dollars ... "
                                   GI GUI ERE to LINDSAY,   CW-1:     "I have
 7     November 29' 2017 Text      offers of $5,000 GTC laddered in .10
 8                                 increments up to 1.00 FYI . ... so you guys
                                   can do your thing now as BMA is clear.          11



 9                                 GI GUI ERE to GANNON, CW-1: "I m leaking
                                                                          1

       November 3 0' 2017 Text     the ticker to a few greedy people in a
10                                 vague fashion.      Bids should be ther
                                    [sic]."
11

12                                 GI GUI ERE to LINDSAY, CW-1: "I suggest
                                   1500 to 2000 shares a day in KV at .55
13                                 and I will just have a large offer there
                                   showing min, for the next 5 to 7 trading
14                                 days. let's let a week go by right here
                                   with a little volume and at this price.
15
                                   then we can move it•   II



16                                 GI GUI ERE to LINDSAY, CW-1: "I will move
       December 5, 2017 Text       BMA to offer 3,000 at .75       meaning I
                                                                  ••• 1


17                                 will drop them to 3000 from 50000 ... and
                                   then Ollie can come in alongside them at
18                                 . 75. "
19
                                   GI GUI ERE to LINDSAY, CW-1: "I will have
20                                 BMA then move to . 85 at 1000 . ... So they
                                   can sell a touch up to 1.       ... so will
21                                 have them at .95 for 1000 and 1 for
                                   1000."
22
                                   GI GUI ERE to GANNON, CW-1: "Ok I get it•       II
23
                                   LINDSAY to CW-1: "I'm a little bit, uh,
       December 8, 2017 Call       hesitant about typing in all these
24
                                   details into this app ... You can just
25                                 imagine if it finds its way somewhere
                                   its, uh, fairly incriminating."
26                                 GI GUI ERE to LINDSAY, CW-1: "Let's tick
       December 18, 2017 Text      it up to 1.05. so we have a touch of
27
                                   green at close. 11
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 1                   g.      On or about December 8,                   2018, defendant LINDSAY caused

 2   call room operators to call securities brokers and convince the brokers

 3   to purchase Kelvin Medical stock in their client's accounts.

 4                   h.      On or about January 18, 2018, defendant GIGUIERE caused

 5   Kelvin Medical to submit to the United States Securities and Exchange

 6   Commission a report on Form 8-K, announcing, in part, that "along with

 7   its Therm-N-Ice product development, it has evolved into an early stage

 8   telehealth wearable technology company."                              The report also stated that

 9   "[o]ur company intends to leverage artificial intelligence and machine

10   learning        combined       with    the    latest          advancements         in     monitoring       and

11   therapeutic deli very technologies."

12                   i.      From on or about January 29,                      2018 until in or around

13   March 2018, defendant GIGUIERE promoted, or caused the promotion of,

14   Kelvin Medical and its stock on the TheMoneyStreet.com.

15                   j.      From on or about November 29, 2017 through on or about

16   January      16,      2018,    defendant          GIGUIERE        sold,    or    caused     to     be    sold,

17   1,500,000 shares of Kelvin Medical stock from the KVMD Domestic Accounts

18   for gross proceeds of approximately $1,674,188.36.
19                   k.      From on or about December 8,                      2017 through on or about

20   March     15,        2018,    defendant       LINDSAY         sold,       or     caused     to    be     sold,

21   approximately 263, 000            shares          of    Kelvin Medical           stock from the CMGT

22   Accounts for gross proceeds of approximately $375,110.49.

23                   1.      On or about March 26, 2018, defendant GIGUIERE sent an

24   email   to      defendant       LINDSAY       attaching           a   $125, 000     "Promissory          Note"

25   between      the      nominal    owner       of        one   of   the     CMGT    accounts,        and    Shop

26   to Brands,             Inc.,          which             defendant          GIGUIERE              controlled.

27   All in violation of Title 18, United States Code, Section 371.

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 1                              Count 2 - Securities Fraud

 2                     (Title 15, U.S.C., Secs. 78j (b), 78ff, and

 3                          Title 17, C.F.R., Sec. 240.lOb-5)

 4          22.   The allegations set forth in paragraphs 1 through 7 are re-

 5   alleged as if fully set forth herein.

 6          23.   Beginning on a date unknown to the Grand Jury but no later

 7   than October 2017, and continuing until on or about March 2018, within

 8   the Southern District of California and elsewhere,                   defendants GANNON

 9   GIUGIERE and OLIVER LINDSAY did knowingly and willfully, directly and

10   indirectly, by the use of the means and instrumentalities of interstate

11   commerce and of the mails,        use and employ manipulative and deceptive

12   devices and contrivances in connection with the purchase and sale of
13   securities issued by Kelvin Medical,          Inc.,    in violation of Title 17,

14   Code   of    Federal   Regulations,     Section    240.lOb-5,       by   (a)    employing

15   devices, schemes and artifices to defraud,            (b) making and causing to be

16   made untrue statements of material fact, and omitting to state material

17   facts necessary in order to make the statements made, in light of the

18   circumstances under       which   they were    made,    not       misleading,    and   (c)

19   engaging in acts, practices, and courses of business which operated and

20   would operate as a fraud and deceit upon any persons, including members

21   of the investing public and sellers and purchasers of Kelvin Medical

22   Inc.'s securities.

23          24.   Paragraphs   9   through    21   of   Count      1    are   realleged     and

24   incorporated by reference as more fully describing the manipulative and

25   deceptive devices and contrivances used in connection with the purchase

26   and sale of securities.

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 1   All in violation of Title 15, United States Code, Sections 78j (b), 78ff,

 2   and Title 17, Code of Federal Regulations, Section 240.lOb-5.

 3                                       Count 3 - Conspiracy

 4                                             (18.S.C.   §    371)

 5           25.    Paragraphs 1 through 7 of the Introductory Allegations above

 6   are re-alleged as if fully set forth herein.

 7           26.   Beginning on a date unknown to the Grand Jury but no later

 8   than in or about January 2016, and continuing until in or about January

 9   2017,     within      the    Southern     District       of      California       and   elsewhere,

10   defendant      GANNON       GIGUIERE,     (GIGUIERE),         and    other    individuals      and

11   entities      known    and    unknown     to   the   Grand        Jury,     did    knowingly   and

12   intentionally conspire to commit an offense against the United States,

13   that is, securities fraud, namely, to knowingly and willfully, directly

14   and     indirectly,     by    the   use   of   the   means        and     instrumentalities     of

15   interstate commerce and of the mails,                    use and employ manipulative and

16   deceptive devices and contrivances in connection with the purchase and

17   sale of securities by (a) employing devices,                        schemes and artifices to

18   defraud,      (b) making and causing to be made untrue statements of material

19   fact,    and omitting to state material facts necessary in order to make

20   the statements made, in light of the circumstances under which they were

21   made, not misleading, and (c) engaging in acts, practices, and courses

22   of business which operated and would operate as a fraud and deceit upon

23   any persons, including members of the investing public and sellers and

24   purchasers of Eco Science Solutions, Inc.'s securities, in violation of

25   Title 15, United States Code, Sections 78j (b), 78ff, and Title 17, Code

26   of Federal Regulations, Section 240.lOb-5.

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 1                                     MANNER AND MEANS

 2           27.   It was part of the conspiracy that defendant GIGUIERE and CW-1

 3 would obtain a        material     degree   of   control   over ESSI,   including by

 4   obtaining significant blocks of ESSI stock.

 5           28.   It was further part of the conspiracy that defendant GIGUIERE

 6   and CW-1 would deposit ESSI stock in one or more accounts at domestic

 7 brokerage firms (the "ESSI Brokerage Accounts") .

 8           29.   It was further part of the conspiracy that defendant GIGUIERE

 9   and CW-1 would make misrepresentations to their brokerage firms in order

10   to have the ability to deposit and trade ESSI shares at and through

11   those firms.

12           30.   It was further part of the conspiracy that defendant GIGUIERE

13   and CW-1 would conceal their affiliation with ESSI in order to hide

14   their substantial control over the company.

15           31.   It was further part of the conspiracy that defendant GIGUIERE

16   would draft, and cause to be drafted, press releases and other corporate

17   disclosures for ESSI.
18           32.   It was further part of the conspiracy that defendant GIGUIERE

19   would    promote,   or   cause   the   promotion of,     ESSI   and   its   stock   on

2 o TheMoneyStreet. com in order to artificially avoid the deflation of,

21   maintain, and inflate the share price of ESSI stock.
22           33.   It was further part of the conspiracy that defendant GIGUIERE

23   and CW-1 would sell ESSI stock that was held in the ESSI Brokerage

24   Accounts into the open market at inflated prices, which the conspirators

25   would manipulate by promoting ESSI and its stock without disclosing

26   their plan to sell such stock during the time that the promotions were

27   disseminated, and during a period of manipulative trading.

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 1          34.    It was further part of the conspiracy that Defendant GIGUIERE

 2   and CW-1      communicated about         the    status      and progress       of,   and plans

 3   regarding, the conspiracy.

 4                                            OVERT ACTS

 5          35.    In furtherance of the conspiracy and to effect and accomplish

 6   the    objects    thereof,       the   following     overt     acts,   among    others,   were

 7   committed within the Southern District of California and elsewhere:

 8                a.      On or about December 9,            2015,    an entity controlled by

 9   CW-1 obtained convertible debt that was previously issued by ESSI.

10                b.      On or about January 12, 2016, CW-1 caused his entity to
11   convert a port.ion of the convertible debt into 1. 3 million shares of

12   ESSI stock, and to deposit those shares in an ESSI Brokerage Account.

13                c.      From on or about April             18,    2016 through on or about
14   October 27,       2016, defendant GIGUIERE obtained approximately 6, 207, 953

15   shares of ESSI stock in the ESSI Brokerage Accounts.                       Defendant GIGUIERE

16   obtained these shares pursuant to a technology licensing and marketing

17   support agreement with ESSI, and a stock purchase agreement with ESSI's

18   former Chief Executive Officer.

19                d.      On December 29, 2016, Defendant GIGUIERE submitted to a

20   brokerage     firm,       in   connection    with    ESSI     stock,   a    "Stock   Promotion

21   Affidavit" falsely stating that "I am not involved in any promotional

22   activity whatsoever.           Third parties, of which I cannot control, will/may

23   opine on what they choose to on any security listed, on any exchange."

24                e.      From in or about February 2016 through in or about May

25   2016, defendant GIGUIERE promoted, or caused the promotion of, ESSI and

26   its stock on the TheMoneyStreet.com.

27                f.      On or about January 21, 2016, defendant GIGUIERE caused

28   ESSI   to    issue    a   press    release     titled    "Eco Science        Solutions,   Inc.
                                                     12
     Case 3:18-cr-03071-WQH Document 1 Filed 06/29/18 PageID.16 Page 13 of 15



 1   Launches Core Mobile and E-commerce Platforms to Stake Claim in the

 2   Multi-Billion Dollar Cannabis Industry."

 3               g.     On or about March 30,              2016,    defendant GIGUIERE caused

 4   ESSI to issue a press release announcing the launch of "Fitrix," which

 5   was purportedly "a powerful and flexible companion which helps you keep

 6   track of your day to day fitness routines, dietary habits and alternative

 7   medicine intake."

 8               h.     From on or about January 22,                2016 through on or about

 9   March 11, 2016, CW-1 sold, or caused to be sold, approximately 991,020

10   shares of ESSI stock from an ESSI Brokerage Account for gross proceeds

11   of approximately $270,538.

12               i.     From    on    or    about   July    5,     2016   through   on   or    about

13   January 18,      2017,    defendant      GIGUIERE      sold,    or   caused    to   be    sold,

14   approximately 5, 839, 444        shares of ESSI stock from two ESSI Brokerage

15   Accounts for gross proceeds of approximately $8,564,401.

16   All in violation of Title 18, United States Code, Section 371.

17
                                  Count 4 - Securities Fraud
18
                        (Title 15, U.S.C., Secs. 78j (b), '78ff, and
19
                              Title 17, C.F.R., Sec. 240.lOb-5)
20
          36.    The allegations set forth in paragraphs 1 through 7 are re-
21
     alleged as if fully set forth herein.
22
          37.    Beginning on a date unknown to the Grand Jury but no later
23
     than January 2016, and continuing until in or about January 2017, within
24
     the Southern District           of    California and elsewhere,          defendant       GANNON
25
     GIUGIERE did knowingly and willfully,                 directly and indirectly,           by the
26
     use of the means and instrumentalities of interstate commerce and of the
27
     mails,     use   and      employ      manipulative       and     deceptive     devices      and
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                                                    13
     Case 3:18-cr-03071-WQH Document 1 Filed 06/29/18 PageID.17 Page 14 of 15




 1   contrivances in connection with the purchase and sale of                                  securities

 2   issued by Eco Science Solutions, Inc.,                  in violation of Title 17, Code

 3   of Federal Regulations,           Section 24 0. lOb-5,         by    (a)    employing devices,

 4   schemes and artifices to defraud,                (b)    making and causing to be made

 5   untrue statements of material fact, and omitting to state material facts

 6   necessary     in    order   to    make    the   statements          made,     in    light    of   the

 7   circumstances       under   which    they were         made,    not       misleading,       and   (c)

 8   engaging in acts, practices, and courses of business which operated and

 9   would operate as a fraud and deceit upon any persons, including members

10   of   the    investing public        and   sellers       and purchasers             of   Eco Science

11   Solutions, Inc.'s securities.

12         38.    Paragraphs     27     through      35     of   Count     3     are     realleged     and

13   incorporated by reference as more fully describing the manipulative and

14   deceptive devices and contrivances used in connection with the purchase

15   and sale of securities.

16   All in violation of Title 15, United States Code, Sections 78j (b), 78ff,

17   and Title 17, Code of Federal Regulations, Section 240.lOb-5.

18                                     FORFEITURE ALLEGATIONS

19         39.    The    allegations      contained         in paragraphs          1    through    7   and

20   Counts 1 through 4 of this Indictment are re-alleged and incorporated

21   by reference for the purpose of alleging forfeiture to the United States

22   pursuant to Title 18,            United States Code,           Section 981 (a) (1) (C),           and

23   Title 28, United States Code, Section 246l(c).

24         40.    Upon conviction of one or more of the offenses set forth in

25   Counts 1 through 4, defendants GANNON GIGUIERE and OLIVER LINDSAY shall

26   forfeit     to     the   United     States      any     property,          real     and   personal,

27   constituting or derived from proceeds traceable to such offenses.

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                                                     14
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  1           41.   Pursuant   to Title 28,   United States Code,    Section 2461 (c)

  2   which    incorporates    the provisions of Title    21,    United States Code,

  3   Section 853(p), the defendants shall forfeit substitute property, up to

  4   the value of the amounts described above, if, as a result of any act or

  5   omission of the defendants, the property described above, or any portion

  6   thereof, cannot be located upon the exercise of due diligence; has been

  7   transferred, sold to, or deposited with a third party; has been placed

  8   beyond the jurisdiction of this court; has been substantially diminished

  9   in value; or has been commingled with other property which cannot be

 10   divided without difficulty.

'11   All pursuant to Title 18, United States Code, Section 981 (a) (1) (C), and

 12   Title 28, United States Code, Section 246l(c).

13         DATED: June 29, 2018.

14                                                  A TRUE BILL:

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16                                                  Foreperson




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